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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

    JULIUS NESBITT,                     )
                                        )                           No. 2:08-cr-01153-DCN
                      Petitioner,       )                           No. 2:14-cv-04503-DCN
                                        )
                vs.                     )
                                        )                                     ORDER
    UNITED STATES OF AMERICA,           )
                                        )
                      Respondent.       )
    ____________________________________)

           This matter is before the court on petitioner Julius Nesbitt’s (“Nesbitt”) motion to

    vacate, set aside, or correct his federal sentence pursuant to 28 U.S.C. § 2255. ECF No.

    285. The government filed a motion to dismiss, or in the alternative, for summary

    judgment. ECF No. 319. Nesbitt has also filed a number of related motions to which the

    government has not responded: (i) motion to expand the record, ECF No. 295;

    (ii) motion to amend the initial motion to vacate, set aside, or correct, ECF No. 299;

    (iii) motion to request District Court Judge to recuse himself, ECF No. 320; and

    (iv) motion to appoint counsel and schedule evidentiary hearing, ECF No. 331. For the

    reasons set forth below, the court: (i) grants in part and denies in part the government’s

    motion to dismiss, or in the alternative, for summary judgment; (ii) denies in part

    Nesbitt’s § 2255 petition as to all but one claim; and (iii) grants Nesbitt’s motion to

    appoint counsel with respect to the sole remaining § 2255 claim.1

                                           I. BACKGROUND

           Nesbitt was arrested in Indiana by the U.S. Marshals Service on January 8, 2008.

    Nesbitt was first indicted in the Southern District of Indiana on federal counterfeiting


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           The disposition of Nesbitt’s other ancillary motions is also detailed below.

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    charges, to which Nesbitt pleaded guilty on August 21, 2008 and was sentenced to time

    served in Indiana on February 26, 2009. Following the Indiana indictment, on November

    12, 2008, Nesbitt was named in a six-count indictment in the United States District Court

    for the District of South Carolina. Count 1 alleged violations of 21 U.S.C. §§ 841 and

    846—Conspiracy to Possess with Intent to Distribute Oxycodone. Counts 2 and 3

    alleged a violation of 21 U.S.C. § 841—Possession with Intent to Distribute Oxycodone.

    Count 4 alleged a violation of 18 U.S.C. § 924—Possession of a Firearm in Furtherance

    of a Drug Trafficking Crime. Count 5 alleged a violation of 18 U.S.C. §§ 922 and 924—

    Possession of a Firearm by a Convicted Felon. Count 6 alleged a violation of 14 U.S.C.

    § 88—False Distress Signal to U.S. Coast Guard.

           After Nesbitt’s January 2008 arrest and before either indictment, defense counsel

    and the government began negotiations in an effort to eventually resolve any potential

    South Carolina charges alongside any charges filed in Indiana. On March 14, 2008,

    Nesbitt entered into a Proffer Agreement with the government, pursuant to which Nesbitt

    agreed to provide the government with “fully truthful and forthright” information, and the

    government agreed “that any self-incriminating statements made and other information

    provided by [Nesbitt] during this Proffer” would not be used against him in any civil or

    criminal proceedings or at sentencing, “unless there is a breach of this Agreement.” ECF

    No. 167-2, Proffer Agreement 2–3. The Proffer Agreement specifically states that the

    government “does not agree to . . . enter into a plea agreement” with Nesbitt, and “[t]he

    [g]overnment makes no representation about the likelihood that any such agreement will

    be reached in connection with this Proffer.” Id. at 1. The Proffer Agreement also




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    contained an integration clause and provided that it could not be modified except by a

    writing signed by all parties. Id. at 3–4.

           Nesbitt participated in two proffers, one on May 21, 2008 and the other on July

    17, 2008. During this period, Nesbitt’s counsel and the government continued plea

    negotiations, but ultimately failed to reach any formal agreement. See ECF No. 276,

    Resentencing Hr’g Tr. 29:6–22 (describing emails from government to Nesbitt’s counsel

    indicating a plan to enter into plea agreement). Nesbitt was eventually indicted in South

    Carolina, and on August 22, 2010, the government moved to hold Nesbitt in breach of the

    Proffer Agreement based on certain false statements and material omissions made during

    his May 21, 2008 proffer. On August 25, 2010, the court found that Nesbitt breached his

    Proffer Agreement, and entered an order detailing this finding on September 14, 2010.

    On August 26, 2010, after a four day jury trial, Nesbitt was convicted on Counts 1, 2, 3,

    5, and 6 in the South Carolina indictment.

           On November 30, 2010, Nesbitt was sentenced to 151 months imprisonment,

    followed by 36 months of supervised release. On appeal, the Fourth Circuit affirmed

    Nesbitt’s convictions, but vacated his sentence, finding that this court failed to provide a

    sufficient explanation for the sentence. On remand, this court held a resentencing

    hearing, and on December 19, 2013, the court resentenced Nesbitt to 151 months

    imprisonment, followed by 36 months of supervised release. Nesbitt again appealed, and

    the Fourth Circuit affirmed this court’s resentencing on October 16, 2014.

           Nesbitt filed a motion to vacate his sentence under 28 U.S.C. § 2255 on

    November 24, 2014. He then filed a motion to expand the record on December 22, 2014,

    and a motion to amend his motion to vacate on January 5, 2015. The government then



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    filed a motion to dismiss Nesbitt’s motion to vacate on March 9, 2015, and Nesbitt filed a

    response to the government’s motion on March 31, 2015. The same day, Nesbitt also

    filed a motion for the District Judge to recuse himself. On May 29, 2015, Nesbitt filed a

    motion to appoint counsel and schedule an evidentiary hearing in connection with his

    motion to vacate under § 2255. The government has not seen fit to respond to any of

    Nesbitt’s numerous ancillary motions. These matters are now ripe for the court’s review.

                                 II. STANDARD OF REVIEW

           Nesbitt filed the instant motions pro se. Federal district courts are charged with

    liberally construing petitions filed by pro se litigants to allow the development of a

    potentially meritorious case. See Hughes v. Rowe, 449 U.S. 5, 9–10 (1980). Pro se

    petitions are therefore held to a less stringent standard than those drafted by attorneys.

    See Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978).

           Nesbitt proceeds under 28 U.S.C. § 2255, which provides in relevant part:

           A prisoner in custody under sentence of a court established by Act of
           Congress claiming the right to be released upon the ground that the
           sentence was imposed in violation of the Constitution or laws of the
           United States, or that the court was without jurisdiction to impose such
           sentence, or that the sentence was in excess of the maximum authorized by
           law, or is otherwise subject to collateral attack, may move the court which
           imposed the sentence to vacate, set aside or correct the sentence.

    28 U.S.C. § 2255(a).

           The government has filed a motion for summary judgment. Summary judgment

    shall be granted if the movant shows there is no genuine issue of material fact and that it

    is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). “Only disputes over

    facts that might affect the outcome of the suit under the governing law will properly

    preclude the entry of summary judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S.



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    242, 248 (1986). “[S]ummary judgment will not lie if the dispute about a material fact is

    ‘genuine,’ that is, if the evidence is such that a reasonable jury could return a verdict for

    the nonmoving party.” Id. At the summary judgment stage, the court must view the

    evidence in the light most favorable to the non-moving party and draw all justifiable

    inferences in its favor. Id. at 255.

                                           III. DISCUSSION

            Resolving the merits of Nesbitt’s motion to vacate under § 2255 disposes of many

    of the issues presented in Nesbitt’s numerous ancillary motions. The court will begin by

    addressing Nesbitt’s motion for the court to recuse, since granting this motion would

    relieve the court of the task of addressing any other issues.

            A.      Motion for Recusal

            Nesbitt argues that recusal is proper under 28 U.S.C. § 455(a), which provides

    that “[a]ny justice, judge, or magistrate judge of the United States shall disqualify himself

    in any proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C.

    § 455(a). Nesbitt points to two prior rulings in this case, which he contends were so

    lacking in legal support and adverse to his interest that they would “cause a person with

    knowledge of the relevant facts reasonably to question the impartiality of this Judge and,

    in fact, believe in the Judge’s actual bias against [him].” ECF No. 320, Pet’r’s Mot. to

    Recuse 4–5. Specifically, Nesbitt contends that this court abused its discretion at a status

    conference following the resolution of Nesbitt’s initial appeal by stating that it lacked

    jurisdiction to resentence Nesbitt until his petition for certiorari was resolved. Id. at 2.

    Nesbitt further contends that this court ignored established Fourth Circuit precedent by

    denying his motion to correct the Amended Judgment where there was an alleged



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    discrepancy between the oral judgment and written judgment. Id. at 4; see also ECF Nos.

    311, 312 (Nesbitt’s motion to amend/correct and this court’s order denying that motion).2

             Nesbitt’s latter argument fails from the outset. The Fourth Circuit affirmed this

    court’s denial of Nesbitt’s motion to correct the Amended Judgment in a July 1, 2015

    opinion. ECF Nos. 333, 338. Thus, there is no indication that the court’s denial of that

    motion was legally erroneous.

             However, even assuming the court’s rulings3 were erroneous, they do not provide

    adequate grounds for recusal. The Supreme Court has explained that “judicial rulings

    alone almost never constitute a valid basis for a bias or partiality motion” under § 455(a).

    Liteky v. United States, 510 U.S. 540, 555 (1994). This is because that section’s concern

    with “partiality” is only implicated by “judicial predispositions that go beyond what is

    normal and acceptable.” Id. at 552. A judicial predisposition may be inappropriate

    “either because it is undeserved, or because it rests upon knowledge that the subject

    ought not to possess . . . , or because it is excessive in degree . . . .” Id. at 550. Courts

    rulings, in and of themselves, “cannot possibly show reliance upon an extrajudicial

    source; and can only in the rarest circumstances evidence the degree of favoritism or

    antagonism required [] when no extrajudicial source is involved.” Id. at 555.

             In this case, Nesbitt effectively contends that the court appears biased against him

    due to the fact that the court allegedly misapplied the law in a manner that is detrimental

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              Nesbitt appealed this court’s denial of his initial motion to correct the Amended Judgment. ECF
    No. 314. While his appeal was pending, Nesbitt filed another motion requesting issuance of a corrected
    judgment and commitment order on June 1, 2015, which relied on the same arguments presented in his
    initial motion to correct the Amended Judgment. ECF No. 332. Nesbitt also filed a subsequent motion
    requesting an immediate ruling on the June 1, 2015 motion. ECF No. 334. The Fourth Circuit later
    affirmed this court’s denial of Nesbitt’s initial motion to correct the Amended Judgment. ECF Nos. 333,
    338. In light of this affirmance, the court finds that Nesbitt’s subsequent motions requesting issuance of a
    corrected judgment, ECF No. 332, and an immediate ruling on the issue must be denied.
    3
              The court notes that the decision to delay Nesbitt’s resentencing occurred at a status conference,
    and was therefore never formalized in any order.

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    to his interests. Pt’r’s Mot. to Recuse 4–5. Nesbitt points to nothing indicating that these

    adverse rulings were based on extrajudicial information. Nor do they reveal a “deep-

    seated and unequivocal antagonism that would render fair judgment impossible.” Liteky,

    510 U.S. at 556. To infer such antagonism from the allegation that the court’s adverse

    ruling was in error would effectively require recusal every time a court made any

    decision. This result is absurd. The Supreme Court recognized as much in Liteky when

    it stated that judicial rulings are “[a]lmost invariably . . . proper grounds for appeal, not

    recusal.” Id. at 555. Therefore, the court denies Nesbitt’s motion for recusal.

            B.      Motion to Amend

            Before turning to the merits of the case, the court also addresses Nesbitt’s motion

    to amend his original motion to vacate under § 2255. ECF No. 299, Pet’r’s Mot. to

    Amend. Nesbitt’s motion to amend simply seeks to add three additional claims to his

    original motion to vacate. Because the government has not responded to this motion, the

    court will grant Nesbitt’s motion to amend and will evaluate the additional claims

    described by that motion.

            Having resolved these preliminary issues, the court now addresses Nesbitt’s

    numerous claims for relief under § 2255.

            C.      Motion to Vacate Under § 2255 and Motion to Dismiss

                    1.      Breach of Agreement to Send Information or Offer Plea

            A large portion of Nesbitt’s claims depend, in one way or another, on his

    contention that the government breached an oral agreement to send an Information to

    Indiana resolving his South Carolina charges in exchange for him signing the Proffer

    Agreement. See Attach. to Pet’r’s Mot. 1–6. Two of Nesbitt’s government misconduct



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    claims directly attack the legitimacy of the Proffer Agreement, arguing that it was

    induced by the government’s promises under the alleged oral agreement, which were

    never fulfilled. Id. at 1–2. Nesbitt also argues that the court deprived him of due process

    by failing to hold an evidentiary hearing on his claim that the government breached the

    oral agreement. Id. at 1. Nesbitt further argues that his pretrial and trial counsel were

    inadequate for failing to challenge the use of information obtained through his proffer

    statement, and that his appellate counsel was inadequate for failing to challenge the

    court’s rulings regarding the Proffer Agreement. Id. at 2–6.

            “The interpretation of plea agreements is guided by contract law, and parties to

    the agreement should receive the benefit of their bargain.” United States v. McQueen,

    108 F.3d 64, 66 (4th Cir. 1997); United States v. Martin, 25 F.3d 211, 216–17 (4th Cir.

    1994) (“Although plea agreements between the government and a defendant are unique

    and call for special due process considerations, the judicial interpretation of plea

    agreements is largely governed by the law of contracts.”). This rule also applies to

    proffer agreements. See United States v. Pielago, 135 F.3d 703, 709 (11th Cir. 1998)

    (“The construction of proffer agreements, like plea agreements, is governed generally by

    the principles of contract law, as we have adapted it for the purposes of criminal law.”).

    The court recognizes that the purported oral agreement in this case is alleged to be neither

    a plea agreement nor a proffer agreement, but an agreement to offer a plea agreement in

    exchange for the signing of a proffer agreement. Despite this distinction, the court sees

    no reason to depart from the general rule that such agreements are governed by the

    general principles of contract law.4


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             Indeed, it might be argued that because Nesbitt’s only consideration in this purported agreement
    was his undertaking of the obligations in the Proffer Agreement, the alleged oral agreement is really a

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             “One of contract law’s fundamental doctrines is that there can be no agreement

    unless there is a ‘meeting of the minds.’” United States v. White, 628 F. App’x 848, 851–

    52 (4th Cir. 2015) (quoting Charbonnages de France v. Smith, 597 F.2d 406, 414 (4th

    Cir. 1979)). This “meeting of the minds” requires that the parties have mutually assented

    to the essential elements of the bargain. Id. at 852. “Where ‘substantial confusion’ calls

    into question whether there has been such a meeting of the minds over a plea bargain,

    there is no valid agreement to be enforced.” Id.

             Here, Nesbitt concedes there was no formal plea agreement, but argues there was

    an “oral agreement to send an Information to Indiana” in exchange for Nesbitt signing the

    Proffer Agreement. Resentencing Hr’g Tr. 32:5–7, 33:14–21;5 see also Pet’r’s Response

    5 (disputing the government’s characterization of his breach of agreement argument and

    stating that not all agreements are plea agreements). There is certainly no indication of

    any such agreement in the Proffer Agreement itself. Proffer Agreement 1–4. Nesbitt has

    identified excerpts from a series of emails sent by the government’s counsel in an effort

    to show that the purported agreement existed. Resentencing Hr’g Tr. 29:4–22; ECF No.

    249, Attach. to Objs. to Use of Existing Presentence Investigation Report During

    Resentencing 10–11. Nesbitt outlined this argument at his resentencing hearing:

             On May 14, 2008, [the government’s counsel] stated: “I should be
             sending you an Information soon, which hopefully Nesbitt will be able to
             plead guilty to along with the counterfeiting charges up [in Indiana].”
             This agreement was made through my attorney in Indiana to me from [the

    parole component of the Proffer Agreement. Under this interpretation, the integration clause of the Proffer
    Agreement is sufficient to dispose of any allegation that such an agreement was ever made. However, in
    the abundance of caution, the court has analyzed Nesbitt’s claims as if he has alleged a truly distinct
    agreement.
    5
             Nesbitt’s motion to vacate and response to the government’s motion to dismiss do not outline his
    arguments in any detail; instead they appear to refer to the discussion of the issue at his resentencing
    hearing. See Attach. to Pet’r’s Mot. 1–6 (making bare assertions and at one point referencing issues raised
    “during the resentencing hearing”); Pet’r’s Response 5 (“Petitioner has presented facts that prove there was
    an oral agreement made by the government.”).

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              government’s counsel] that if I signed the [Proffer]6 Agreement, this
              would happen.

              Another e-mail from [the government’s counsel] to [defense counsel]. On
              July 16, 2008. “I know it's been said before, but I am close to sending you
              the Information and Plea Agreement.” Before I signed the proffer and
              before I debriefed.

              Another e-mail from [the government’s counsel] to [defense counsel] July
              29th, 2008. “My intention is not to wipe out any help he gets for his
              assistance in the Indiana case. I don't have any objections at this time to
              the 5K reduction applying to my charges as well if possible.”

     Resentencing Hr’g Tr. 29:4–22.

              However, these excerpts do not evince a final agreement created through “mutual

     assent” but rather show only preliminary discussions and the possibility of a future

     agreement. The first email states that “hopefully Nesbitt will be able to plead guilty” to

     the charges in the forthcoming information, indicating that the plea was not a foregone

     conclusion. The second email, which notably post-dates Nesbitt’s first proffer interview,

     simply references the same information and clearly indicates that the plea agreement had

     yet to be offered, much less agreed upon by the parties. Finally, the third email, which

     post-dates both of Nesbitt’s proffer interviews, references a potential plea arrangement

     and states that the government has no “objections at this time,” implying that the

     government retained the authority to decline such an agreement.

              Nesbitt attempts to avoid this interpretation of the emails by arguing that the

     government never agreed to a particular plea arrangement, but simply agreed to offer a

     plea agreement. However, the emails do not provide any indication that the plea

     negotiations were being conducted pursuant to some prior oral agreement, and they

     certainly do not suggest that the government was obligated to provide a plea offer by any

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              The transcript shows that Nesbitt referred to the “plea” agreement, however the court believes he
     most certainly meant the Proffer Agreement.

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     such agreement. The emails simply reflect plea negotiations. Evidence that plea

     negotiations occurred cannot, in and of itself, constitute evidence that plea negotiations,

     much less a plea offer, were required by some ancillary oral agreement. The logic

     underlying such a finding is simply not reasonable; the fact that a party takes some

     action, or prepares to take some action, does not mean that such action was contractually

     obligated. To the extent the emails provide any indication of the forces motivating the

     government’s plea negotiations, they suggest that the government was guided only by its

     own “intentions,” not its obligations. Id. at 29:19–20. Therefore, the court finds that

     Nesbitt has failed to present evidence of any alleged oral agreement.

              Consequently, all of Nesbitt’s proffer related claims in his motion to vacate must

     fail. Grounds Two A and Two B, which directly allege that the government failed to

     fulfill its obligations under the oral agreement fail for lack of factual support as described

     above.

              Grounds Three B, Three E, and Three F all allege ineffective assistance of

     counsel based on defense counsel’s failure to challenge the indictment, trial evidence, and

     sentencing guideline calculations, which were all based on information gained through

     the Proffer Agreement. Similarly, Ground Three G alleges that Nesbitt’s appellate

     counsel was inadequate for failing to challenge the court’s rulings regarding the Proffer

     Agreement and failure to conduct an evidentiary hearing on the issue. Ineffective

     assistance of counsel claims require the petitioner to “show that [his] attorney[’s]

     performance fell below an objective standard of reasonableness and that [he] suffered

     prejudice as a result.” United States v. Mikalajunas, 186 F.3d 490, 493 (4th Cir. 1999)

     (citing Strickland v. Washington, 466 U.S. 668, 687 (1984)). Because the court finds no



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     factual support for Nesbitt’s contention that the Proffer Agreement was not involuntarily

     or unknowingly made, the court finds that any challenges to the indictment, trial

     evidence, guidelines calculations, or related court rulings relying on that contention

     would have failed. Thus, Nesbitt cannot show that there is a reasonable probability that

     he was prejudiced by his counsel’s failure to mount such attacks, and his counsel’s

     decision to forego such a strategy was likely reasonable.

            Ground One alleges that the court denied Nesbitt due process by failing to hold an

     evidentiary hearing to determine whether the proffer statement was knowingly and

     voluntarily given, and whether the information used to calculate the guidelines range was

     the result of the government’s breach of agreement. The Fourth Circuit “has never held

     that an evidentiary hearing is required to resolve disputed matters at sentencing. Only

     when the reliability of evidence is an issue has [the Fourth Circuit] held that an

     evidentiary hearing is necessary.” United States v. Jackson, 155 F.3d 562 (4th Cir.

     1998). Even when the court does hold an evidentiary hearing to resolve sentencing

     issues, the hearing need not take any specific form. See United States v. Reyna, 611 F.

     App’x 124, 126 (4th Cir. 2015) (“While ‘the court must ensure that the parties have an

     adequate opportunity to present relevant information [on a disputed issue],’ there is no

     affirmative requirement that the court allow live testimony.” (quoting U.S. Sentencing

     Guidelines Manual § 6A1.3, cmt. (2013))).

            Here, Nesbitt submitted objections outlining his arguments prior to the

     resentencing hearing, ECF No. 249, and took the opportunity to argue his position at the

     hearing itself. Resentencing Hr’g Tr. 25:15–35:5. In fact, the court accepted that the

     emails Nesbitt relied on were valid, but simply found them insufficient to support his



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     legal claim. Id. at 34:2–15. Thus, the court finds that Nesbitt had ample opportunity to

     present his arguments. Moreover, Nesbitt’s allegation that the proffer statement was not

     knowing and voluntary does not turn on the reliability of the evidence, so no evidentiary

     hearing was necessary. Finally, the court accepted the legitimacy of the emails in finding

     that the proffer statement was knowing and voluntary. Id. at 34:6–12 (relying on dates of

     the emails to find no meeting of the minds). Thus, any error in not ordering an

     evidentiary hearing was harmless. United States v. Dutton, 92 F.3d 1183 (4th Cir. 1996)

     (finding that “any error regarding the denial of the continuance motion and failure to

     order a[n] [evidentiary] hearing was harmless and provides no basis for vacatur of the

     judgment,” where defendant referred to polygraph evidence at sentencing hearing and the

     government did not dispute defendant’s characterization of such evidence).

                    2.      Ineffective Assistance of Pretrial or Trial Counsel

            Nesbitt also brings a number of other ineffective assistance claims relating to

     assorted pretrial issues. Specifically, Nesbitt contends that: (i) defense counsel was

     ineffective in plea negotiations, for advising him to enter into the aforementioned Proffer

     Agreement without conducting sufficient research or investigation into the evidence or

     charges against him—Ground Three A; (ii) defense counsel was ineffective in failing to

     understand and present an argument that Nesbitt was entitled to a Franks hearing—

     Ground Three B; and (iii) defense counsel was ineffective in failing to understand the

     Speedy Trial Act and argue Nesbitt’s motion for violation of the Speedy Trial Act—

     Ground Three C. Attach. to Pet’r’s Mot. 2–4.

            As mentioned above, the Supreme Court in Strickland v. Washington, 466 U.S.

     668 (1984), announced a two-part test for determining whether a convicted person is



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     entitled to relief on the ground that his counsel rendered ineffective assistance. “To

     establish cause for [a] default based upon ineffective assistance of counsel, [petitioner]

     must show that [his] attorney[’s] performance fell below an objective standard of

     reasonableness and that [he] suffered prejudice as a result.” United States v.

     Mikalajunas, 186 F.3d 490, 493 (4th Cir. 1999) (citing Strickland, 466 U.S. at 687). In

     making the determination of whether counsel’s assistance was objectively reasonable,

     judicial scrutiny of counsel’s performance must be highly deferential, and courts “must

     indulge in a strong presumption that counsel’s conduct falls within the wide range of

     reasonably professional assistance.” Id. at 689–90.

            To satisfy the second prong of the Strickland test, the petitioner must also show

     that there exists a “reasonable probability that, but for counsel’s unprofessional errors, the

     result of the proceeding would have been different.” Id. at 687–88. Under Strickland, a

     reasonable probability is “a probability sufficient to undermine confidence in the

     outcome.” Id. at 694; see also Glover v. United States, 531 U.S. 198 (2001). Thus, the

     “prejudice” inquiry focuses on the question of “whether counsel’s deficient performance

     renders the result of the trial unreliable or the proceeding fundamentally unfair.”

     Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

            With these principles in mind, the court addresses each of Nesbitt’s pretrial

     ineffective assistance claims in turn.

                            a.      Advice re: Proffer Agreement

            Ground Three A of Nesbitt’s motion to vacate alleges that his pretrial counsel was

     ineffective in failing to conduct an appropriate investigation into the facts of his case

     before advising him to enter into the Proffer Agreement. To succeed on such a claim,



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     Nesbitt must show “that pre-trial counsel’s advice with respect to the proffer agreement

     was outside the ‘wide range of professionally competent’ advice pre-trial counsel could

     have given.” Collins v. United States, No. 1:10-cr-466, 2015 WL 631180, at *6 (D.S.C.

     Feb. 13, 2015).

            In an affidavit submitted with the government’s motion to dismiss, Nesbitt’s

     pretrial counsel explained that because “Nesbitt’s efforts to resolve the South Carolina

     charge took place prior to indictment for those charges, no formal discovery had been

     ordered.” Resp’t’s Mot. Ex. 5. The affidavit further states that the events leading to the

     Proffer Agreement sprang from Nesbitt’s desire to “offer[] assistance to law enforcement

     in South Carolina with a goal of mitigating against a potential sentence on the South

     Carolina charges and . . . obtaining a transfer of the South Carolina prosecution to

     Indiana.” Id. Nesbitt’s reply simply states that this affidavit confirms that his counsel

     failed to investigate his charges and the evidence against him prior to advising him to

     enter the Proffer Agreement. Pet’r’s Reply 5–6. Nesbitt does not dispute, or even

     address, his counsel’s explanation as to why no such investigation was made. Id.

            When this context is taken into account, the court cannot say that pretrial

     counsel’s advice regarding the proffer agreement was outside the wide range of

     professionally competent advice. As an initial matter, “attorneys have wide discretion in

     deciding to what extent, or in what manner, they will investigate a case.” Johnstone v.

     United States, 1999 WL 672946, at *8 (E.D.N.Y. Aug. 25, 1999). Reasonableness, in the

     pretrial investigation context, “is based in large part on the petitioner’s own statements

     and actions toward counsel.” Id. Obtaining Nesbitt’s proffer statement was “the first

     step” in pursuing the plea agreement he desired, Resentencing Hr’g Tr. 26:10–12, and



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     Nesbitt does not dispute that he wished to begin working towards a resolution of his

     South Carolina charges at the time in question. Pet’r’s Reply 5–6. Given the uncontested

     affidavit evidence that it was Nesbitt who wished to offer assistance to the government

     before discovery was available, it was not unreasonable for his counsel not to conduct an

     investigation into the evidence and charges against him prior to his signing of the Proffer

     Agreement. The evidence shows that pretrial counsel relied on Nesbitt’s understanding

     of the case, as confirmed through discussions with the government. Resp’t’s Mot. Ex. 5.

     The evidence further shows that pretrial counsel discussed the consequences of the

     Proffer Agreement with Nesbitt before it was signed. Id. Under the circumstances

     described above, the court finds these efforts sufficient.

                            b.      Franks Hearing

            Nesbitt next contends that his pretrial counsel failed to properly understand the

     requirements for obtaining a Franks hearing and failed to include such elements in

     Nesbitt’s motion for such a hearing. As this court previously explained in ruling on

     Nesbitt’s motion for a Franks hearing, Franks v. Delaware, 438 U.S. 154 (1978), outlines

     the circumstances in which a defendant can attach a facially sufficient affidavit

     underlying a warrant. Under Franks, a defendant can obtain an evidentiary hearing on an

     affidavit’s integrity by making “‘a substantial preliminary showing that a false statement

     knowingly and intentionally, or with reckless disregard for the truth, was included by the

     affiant in the warrant affidavit.’” United States v. Colkley, 899 F.2d 297, 300 (4th Cir.

     1990) (quoting Franks, 438 U.S. at 155–56). “The Court made clear that there is a

     ‘presumption of validity’ with respect to warrant affidavits and that to overcome that

     presumption, a defendant must allege ‘deliberate falsehood’ or ‘reckless disregard for the



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     truth’ and include with the allegations ‘an offer of proof.’” United States v. Tate, 524

     F.3d 449, 454 (4th Cir. 2008) (quoting Franks, 438 U.S. at 171). Allegations of

     negligence or innocent mistake are not sufficient. Id. Instead, the defendant must point

     out specifically the portion of the affidavit that he claims is false and give reasons why it

     is false, and he must also furnish affidavits or their equivalent, or explain their absence.

     Id. “The burden of making the necessary showing is thus a heavy one to bear.” Id.

            Here, Nesbitt filed a motion for a Franks hearing in an attempt to invalidate the

     affidavit of a Georgetown County Sheriff’s officer, which provided probable cause for

     the issuance of a search warrant. ECF No. 86; ECF No. 91. That affidavit stated that:

            [W]ithin the last seventy-two hours a confidential and reliable informant
            working under direct control and supervision of the Georgetown County
            Organized Crime Bureau purchased a quantity of Oxycontin, a Schedule II
            controlled substance from the above mentioned residence. The
            confidential informant has been used in the past and has proven to be
            reliable.

     ECF No. 86 at 2. Having reviewed Nesbitt’s briefing of the Franks issue, the court finds

     that his pretrial counsel had a sufficient understanding of the standard and made a

     reasonable, if unsuccessful, attempt to meet it. First, Nesbitt’s briefs cited the proper

     standard for when a hearing is required. ECF No. 86 at 3. Next, the briefs argued that

     one central statement in the affidavit—that the informant had purchased a controlled

     substance from the residence—was false. ECF No. 91 at 1–2 (arguing that specific

     portions of the audio file transcript showed that no purchase occurred during the recorded

     encounter with Nesbitt). The court recognized and addressed this argument in its order

     denying Nesbitt’s motion. See United States v. Nesbitt, No. 2:08-cr-1153-DCN, 2010

     WL 2219210, at *4 (D.S.C. May 28, 2010) (“Defendant also posits that the controlled

     purchase that formed the primary basis for the warrant never occurred.”). The fact that


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     the court did not accept pretrial counsel’s interpretation of the facts does not mean that

     pretrial counsel was ineffective.7 Moreover, Nesbitt fails to identify how the issue could

     have been better argued, or how counsel could have met the requisite showing for a

     Franks hearing. Thus, the court cannot say that counsel’s performance was deficient or

     prejudicial to Nesbitt. The far more likely explanation for Nesbitt’s failure to obtain a

     Franks hearing is that he was not entitled to one under the facts of the case.8 For these

     reasons Ground Three B of Nesbitt’s motion must fail.

                                c.       Speedy Trial Act

              Nesbitt next argues that his pretrial counsel was ineffective in failing to

     understand the Speedy Trial Act and failing to act as an advocate for him on this issue.

     Specifically, Nesbitt contends that his counsel: (i) untimely filed a Motion for Violation

     of the Speedy Trial Act which was written by Nesbitt and which counsel did not read

     before filing; (ii) claimed he would add to the motion, but never did; and (iii) proceeded

     to the hearing “completely unprepared.” Attach. to Pet’r’s Mot. 4. What Nesbitt fails to

     allege is how these deficiencies resulted in prejudice.9




     7
               The court also does not fault counsel for attempting to make a Franks argument out of the
     Georgetown County Sheriffs Office’s failure to comply with its own procedures for controlled narcotics
     purchases. Nesbitt, 2010 WL 2219210, at *4. Though this argument had little chance of success, see id.
     (explaining that such an argument was not directly relevant and lacked evidentiary support), it may well
     have been the best available option.
     8
               The court also rejects Nesbitt’s contention that he was somehow deprived of access to the court by
     his counsel’s failure to obtain a Franks hearing.
     9
               The court notes that Nesbitt’s counsel has provided an affidavit disputing some of these
     contentions and stating that his research led him to conclude that the Speedy Trial Act did not provide any
     relief. The court also notes that the order denying Nesbitt’s motion contradicts his current assessment of
     counsel’s performance. See United States v. Nesbitt, No. 2:08-cr-1153-DCN, 2010 WL 3522398, at *2
     (D.S.C. Sept. 3, 2010) (“At the hearing on the instant motion, [Nesbitt]’s counsel expanded the previously
     briefed arguments by raising the issuance of a bench warrant and a writ of habeas corpus ad prosequendum
     that directed [Nesbitt]’s appearance for arraignment in Charleston on November 25, 2008. Counsel also
     raised the issue of gaps in the plea negotiations that took place in Indiana.”). However, for the purposes of
     this motion, the court will take Nesbitt’s allegations to be true.

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              To date, the only arguments Nesbitt has provided for why he is entitled to relief

     under the Speedy Trial Act were set forth in his initial motion. ECF No. 77. The court

     squarely rejected these arguments, noting that the issue was governed by the plain

     language of the statute. Nesbitt, 2010 WL 3522398, at *3. This decision was affirmed

     by the Court of Appeals. United States v. Nesbitt, 464 F. App’x 89, 90–91 (4th Cir.

     2012). Nesbitt has provided no reason to believe that counsel’s efforts could have

     changed this outcome. As such, Nesbitt’s has failed to demonstrate that there was a

     reasonable probability that a different course of action would have affected the outcome,

     and Ground Three C of his motion to vacate must fail.

                       3.       Ineffective Assistance of Appellate Counsel

              Nesbitt also brings a host of ineffective assistance of counsel claims regarding his

     appellate counsel. Specifically, Nesbitt complains of his appellate counsel’s failure to:

     (i) raise various issues on appeal—Ground Three G; (ii) file a petition for rehearing or

     rehearing en banc within fourteen days of the denial of his appeal—Ground H; (iii) order

     transcripts of opening and closing arguments—Ground Three I; and (iv) explain the

     procedures for filing a petition for a writ of certiorari—Ground Three J. Attach. To

     Pet’r’s Mot. 6–7; Pet’r’s Mot. to Amend. 2–4.10 Again, the court addresses each claim in

     turn.

                                a.       Failure to Raise Issues on Appeal

              Nesbitt outlines seven possible grounds for appeal of his resentencing which he

     contends should have been raised by his appellate counsel. Attach. Pet’r’s Mot. 6–7.




     10
              Nesbitt’ clarified the labelling of each claim in his response to the government’s motion to
     dismiss. Pet’r’s Response 14–15.

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     Nesbitt describes the following three questions as “meritorious” issues which he asked

     his appellate counsel to raise on appeal:

             (1) Did the District Court’s failure to permit adversarial testing of the
             sentencing facts violate due process or USCS § 3553(a)?

             (2) Should the District Court have conducted an evidentiary proceeding
             before admitting evidence obtained by unconstitutional means into the
             sentencing calculus?

             (3) Did the District Court’s failure to conduct a de novo resentencing
             violate due process of law?

     Id. at 6. Nesbitt also identifies four other appealable issues, but does not describe them as

     meritorious or even explicitly state that they should have been raised on appeal. Id. at 6–

     7. Instead, Nesbitt simply notes that were properly preserved. Id. Presumably, however,

     Nesbitt intends to argue that such issues should also have been raised on appeal. Such

     issues are as follows:

             (1) Did the District Court err in overruling Defendant’s objection to
             information in the presentence investigation report obtained through a
             constitutionally invalid search warrant being used to calculate Guidelines
             Range?

             (2) Did the District Court err in ruling there was no meeting of the minds
             in the oral agreement between the government and Defendant?

             (3) Did the District Court err in overruling Defendant’s objection to use of
             information in DEA agent’s DEA-6 Form being used in calculating
             Guidelines Range when DEA agent made misrepresentations to the Court
             and deliberately destroyed critical evidence?

             (4) Did the District Court err in ruling that Defendant’s Counsel during
             plea negotiations was possibly ineffective and this issue would have to be
             presented in a 2255 action in Indiana?

     Id. at 6–7.

             At the outset, the court notes that counsel is under no obligation to “raise every

     ‘colorable’ claim suggested by a client.” Jones v. Barnes, 463 U.S. 745, 754 (1983). In


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     assessing a claim that appellate counsel was ineffective for failing to pursue an issue on

     appeal, “reviewing courts must accord appellate counsel the ‘presumption that he decided

     which issues were most likely to afford relief on appeal.’” Bell v. Jarvis, 236 F.3d 149,

     164 (4th Cir. 2000) (quoting Pruett v. Thompson, 996 F.2d 1560, 1568 (4th Cir. 1993)).

     “‘Generally, only when ignored issues are clearly stronger than those presented, will the

     presumption of effective assistance of counsel be overcome.’” Bell v. Jarvis, 236 F.3d

     149, 164 (4th Cir. 2000) (quoting Smith v. Robbins, 528 U.S. 259, 286 (2000)). “To

     establish prejudice relating to the actions of appellate counsel, [a petitioner] must

     establish a reasonable probability that, but for his counsel’s unreasonable failure to

     include a particular issue on appeal, he would have prevailed on his appeal.” United

     States v. Johnson, No. 3:12-cr-850, 2015 WL 6437097, at *2 (D.S.C. Oct. 22, 2015).

            Turning to Nesbitt’s proposed “meritorious” arguments, Nesbitt’s first contends

     that his counsel should have appealed the court’s failure to permit adversarial testing of

     the sentencing facts. This allegation goes to the procedural reasonableness of Nesbitt’s

     sentencing. See United States v. Carter, 564 F.3d 325, 328 (4th Cir. 2009) (explaining

     that the Court of Appeals evaluates a sentence for abuse of discretion by first looking to

     its procedural reasonableness, and if the sentence is found procedurally reasonable,

     assessing whether it was substantively reasonable). For a sentence to be procedurally

     reasonable, the sentencing court must, among other things “consider[] the 18 U.S.C. §

     3553(a) factors and analyze[] the arguments presented by the parties.” United States v.

     Yooho Weon, 722 F.3d 583, 588 (4th Cir. 2013); see also Rita v. United States, 551 U.S.

     338 (2007) (“[T]he sentencing judge should set forth enough to satisfy the appellate court




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     that he has considered the parties’ arguments and has a reasoned basis for exercising his

     own legal decisionmaking authority.”).

            Nesbitt fails to identify any way in which he was prevented from challenging the

     factors used to determine his sentence. The transcript of the resentencing hearing is

     replete with such challenges. See Resentencing Hr’g Tr. 10–20 (arguing against

     presentencing report’s use of drugs and firearms obtained through search of Nesbitt’s

     home); Resentencing Hr’g Tr. 21–25 (challenging statement in presentence report that

     other individuals’ proffer statements corroborated information in Nesbitt’s proffer

     statement); Resentencing Hr’g Tr. 25–35 (arguing against presentence report’s use of

     information obtained through Proffer Agreement); Resentencing Hr’g Tr. 35–83 (arguing

     against and taking testimony on accuracy drug weights contained in presentence report).

     Not only did the court hear Nesbitt’s objections to the presentence report, it explained

     why Nesbitt’s objections were overruled, and in one instance, sustained his objection.

     See id. at 87:4–9 (sustaining objection regarding presentence report assessment of

     financial condition). Therefore, the court finds that Nesbitt’s appellate counsel was not

     ineffective for failing to raise the “adversarial testing” issue on appeal because it was

     groundless. For the same reason, the court finds that Nesbitt has failed to demonstrate, or

     even allege, how he was prejudiced by this failure.

            Nesbitt’s second argument, that appellate counsel unreasonably failed to

     challenge the court’s refusal to hold an evidentiary hearing regarding unconstitutionally

     obtained evidence, is also defective. First, the court notes that it is not entirely clear what

     evidence Nesbitt is referencing. To the extent this argument relates to Nesbitt’s challenge




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     to the use of information obtained through the Proffer Agreement, it is unfounded for the

     reasons discussed in section III.C.1 above.

            If the argument relates to the dispute regarding the drugs and firearms obtained

     through a search of Nesbitt’s home, the court finds that the issue was given sufficient

     treatment at the hearing. See Resentencing Hr’g Tr. 10–20. That dispute was largely

     duplicative of the Franks issue discussed above in section III.C.2.b. Nesbitt argued that

     the officer who provided the affidavit at issue in the pretrial Franks motion later testified

     at trial that he had not personally witnessed the drug exchange described in the affidavit,

     and that this testimony somehow changed the Franks analysis. Id. Again, the court notes

     that an evidentiary hearing is only appropriate when the reliability of evidence is at issue.

     Jackson, 155 F.3d 562.

            Here, the court simply found that the issue had already been resolved and could

     not be re-litigated at the sentencing stage. Even if the court was obligated to revisit the

     issue, there is no reason to think that the inquiry required an evidentiary hearing, as the

     government did not dispute the reliability of the officer’s testimony—in other words, no

     one questioned the validity of Nesbitt’s evidence, just the conclusions he drew from it.

     Id. at 14:1–15:18 (government arguing that the officer need not personally witness the

     transaction to provide affidavit). Thus, there would have been no use in holding an

     evidentiary hearing, and such a hearing would not have aided Nesbitt’s argument.

            Finally, to the extent this argument is somehow meant to address other

     purportedly unconstitutionally obtained evidence, the court finds that Nesbitt has simply

     failed to identify such evidence, and consequently failed to state a viable claim for relief.

     For these reasons, Nesbitt’s second argument fails.



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              In his third “meritorious” argument, Nesbitt contends that his appellate counsel

     should have argued that the district court deprived him of due process by failing to hold a

     de novo resentencing. Again, Nesbitt provides no indication for why this argument

     would have been meritorious on appeal. The rule in the Fourth Circuit is that a district

     court must revisit such issues on remand as are necessary to address the error that was the

     cause for remand, but may decline to revisit other issues. United States v. Susi, 674 F.3d

     278, 286 (4th Cir. 2012) (“[A] district court would be well within its authority to decline

     to revisit every sentencing issue on remand, unless the mandate indicates otherwise or the

     interrelationship of sentencing components makes it advisable to do so. There is no

     reason to require a district court to plow through the same arguments, take the same

     evidence, and make the same findings that it has already made in the original sentencing

     where such an effort would serve no purpose.”). At the resentencing hearing, the court

     stated that it would not revisit issues unrelated to the Fourth Circuit’s reason for remand,

     but it would allow Nesbitt to present his objections and make a record for possible

     appeal. Resentencing Hr’g Tr. 9:7–18. Thus, it appears any appeal raising this issue

     would have been fruitless.11 Moreover, even if Nesbitt were entitled to a de novo

     rehearing of all issues, Nesbitt completely fails to identify how he would have

     successfully reargued any such issue and how this would have affected his sentence.12

     Thus, Nesbitt has failed to defeat the presumption that his counsel performed reasonably,




     11
               Given that Nesbitt has failed to present any new arguments for why the court was incorrect when
     it reached this conclusion at the resentencing hearing, it should come as no surprise that the court reaches
     the same conclusion now.
     12
               The court notes that over the course of the hearing, it offered substantive reasons for overruling
     each objection Nesbitt presented. Thus, it is not entirely clear that the court even denied Nesbitt the de
     novo resentencing hearing he requested. In any event, Nesbitt has failed to convince the court that any of
     these rulings were in error, or would have affected Nesbitt’s sentence.

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     and cannot demonstrate that he was prejudiced by his counsel’s failure to raise this issue

     on appeal. Therefore, his third argument must fail.

            As for the remaining issues that did not garner Nesbitt’s “meritorious”

     designation, the court first notes that because Nesbitt did not even request that these

     issues be raised on appeal and apparently views them as something less than

     “meritorious,” the court finds it quite doubtful that they could ever form the basis of an

     inadequate assistance claim. Nevertheless, the court addresses each argument in turn.

            Nesbitt’s first “non-meritorious issue” again relates to the Franks issue and the

     constitutionality of the search warrant used to search his home was valid. Nesbitt now

     contends his appellate counsel should have directly challenged the district court’s use of

     information obtained from the search in calculating his sentence. The court notes that

     Nesbitt has not presented any argument as to why the court was required to even address

     this issue at the sentencing stage, given that it had already been decided before trial and

     affirmed by the Court of Appeals. Nevertheless, Nesbitt’s basic challenge at the

     resentencing hearing was as follows: because the officer has testified that he lacked

     personal knowledge of the drug transaction discussed in the affidavit, the affidavit

     contained a false statement to the extent it implied the officer had personal knowledge of

     the drug transaction. Resentencing Hr’g 13:12–24.

            However, the affidavit did not actually say that the officer had personal

     knowledge; any such interpretation of the affidavit necessarily relies on conjecture and

     implication. While leaving this issue open to interpretation may have been negligent,

     “[m]ere negligence in not fully identifying [the source of information] is inadequate to

     justify a Franks hearing.” United States v. Washington, 139 F. App’x 479, 481 (4th Cir.



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     2005). Indeed, the Washington court denied a Franks hearing under analogous, but more

     severe circumstances, where the affiant actually checked a box indicating that the

     affidavit was made on personal knowledge. See id. (“Although Detective Lewis failed to

     properly identify Nykeia as the source of the other occurrences surrounding the

     confrontation with Washington, that failure does not rise to the level of reckless disregard

     for the truth.”). The court finds no reason to believe this reasoning would not have

     defeated Nesbitt’s argument on appeal.

            Nesbitt also argued that language in the affidavit describing the informant as

     “reliable” was misleading because the informant had only been used twice and had not

     procured drugs in either instance. Id. at 17:9–21. However, this argument presupposes

     that an informant must successfully secure drugs before he or she can be considered

     credible. The court finds no support for this requirement in the law. Therefore, the court

     finds that pursuit of this Franks issue would have provided Nesbitt no relief. As such,

     Nesbitt has failed to demonstrate that his counsel’s performance was objectively

     unreasonable or prejudicial.

            Nesbitt’s next proposed appellate argument challenges the court’s finding that the

     alleged oral agreement did not exist because there was no meeting of the minds. This

     argument has been sufficiently discussed above in section III.C.1 and fails for all the

     reasons stated therein.

            Nesbitt also argues that his appellate counsel should have challenged the use of

     drug amounts listed in a Drug Enforcement Administration (“DEA”) agent’s DEA-6 form

     in calculating his sentencing range. Pursuant to the Proffer Agreement, DEA Agent

     Adam Roberson interviewed Nesbitt regarding his drug activities and summarized his



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     interview notes in a “DEA-6” form. Nesbitt argued at the resentencing hearing that

     because the agent destroyed his interview notes, in contravention of DEA policy, the

     DEA-6 form was unreliable. Resentencing Hr’g Tr. 55:25–56:3.

            This is simply a factual dispute over the agent’s credibility. The Court of Appeals

     reviews a district court’s factual findings for clear error and gives great deference to

     credibility determinations. United States v. Layton, 564 F.3d 330, 334 (4th Cir. 2009).

     The court heard very thorough arguments on this issue, with the DEA agent and Nesbitt

     even taking the stand. Resentencing Hr’g Tr. 35–83. The court believes that, to the

     extent it credited the DEA agent’s testimony and the DEA-6 form, it acted well within its

     range of discretion. Moreover, the court eventually found that even if the alleged

     disparities between what Nesbitt said during his proffer and the amounts listed in the

     DEA-6 form were taken to be true, it would not change the calculation of his guideline

     range. Id. at 82:7–17. Tellingly, Nesbitt does not challenge this determination, and

     though Nesbitt now claims that the amounts he stated during his interview were

     themselves exaggerations, the court clearly credited his proffer statements over his more

     recent attempt to recant. Thus, the court cannot see how this challenge to the DEA-6

     form would have impacted his sentence. For these reasons the court cannot find that

     appellate counsel’s decision to forgo this argument on appeal was either objectively

     unreasonable or prejudicial to Nesbitt. As such, Nesbitt’s third argument must fail.

            Lastly, Nesbitt argues that his attorney should have challenged the court’s ruling

     that his ineffective assistance claim against his pretrial counsel must be presented in a

     § 2255 action, rather than at sentencing. “[I]t is well settled that ‘a claim of ineffective

     assistance should be raised in a 28 U.S.C. § 2255 motion in the district court rather than



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     on direct appeal, unless the record conclusively shows ineffective assistance.’” United

     States v. King, 119 F.3d 290, 295 (4th Cir. 1997) (quoting United States v. Williams, 977

     F.2d 866, 871 (4th Cir.1992). This rule certainly suggests that ineffective assistance

     claims are also inappropriate at sentencing, before a direct appeal, when the record is

     even less developed. In any event, the merits of the underlying ineffective assistance

     claim were addressed above in section III.C.2.a, which concluded that such a claim was

     meritless. Therefore, even if ineffective assistance claims could be brought at sentencing,

     the court finds that it would have been useless to appeal on such grounds, as raising this

     issue on appeal would have only brought about the court’s inevitable rejection of the

     underlying ineffective assistance claim. Thus, this derivative ineffective assistance claim

     against Nesbitt’s appellate counsel for failing to pursue an opportunity to bring an

     ineffective assistance claim against his trial counsel must fail.

                            b.      Failure to Request Rehearing

            Nesbitt next argues that appellate counsel was ineffective in refusing his request

     to file petition for rehearing or rehearing en banc. Attach. To Pet’r’s Mot. 7. In an

     affidavit submitted with the government’s motion to dismiss, Nesbitt’s appellate counsel

     explains that he refused Nesbitt’s request because he did not believe any ground for

     rehearing applied to Nesbitt’s case. ECF 319-3. Nesbitt, of course, believes that he had

     sufficient grounds for a rehearing, and that resolving this disagreement on the legal merits

     of his proposed petition requires an evidentiary hearing.

            First, the court notes that even if it were inclined to resolve this disagreement, an

     evidentiary hearing would be inappropriate as the disagreement concerns an issue of law,

     not fact. Moreover, Nesbitt has entirely failed to outline any legal argument for why his



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     proposed petition would have been granted. Thus, the court has no way to evaluate how

     Nesbitt was prejudiced. Nesbitt’s assurances that his petition would have been viable are

     conclusory, and thus, insufficient to state a claim of ineffective assistance.

             Most importantly, even if the court were to find that Nesbitt’s could have

     presented a viable petition for rehearing, the court would nevertheless find Nesbitt’s

     ineffective assistance claim defective. “[A] petition for rehearing or rehearing en banc is

     a discretionary appeal and thus there is no constitutional right to counsel to pursue a

     petition for rehearing.” Smith v. United States, 2013 WL 1962311, at *3 (E.D.N.C. May

     10, 2013) (quoting White v. United States, 2013 WL 1497579, at *3 (W.D. Va. Apr. 11,

     2013)). “[W]here no Sixth Amendment right to counsel attaches to the proceeding, an

     ineffective assistance claim cannot be sustained.” Id. (quoting United States v.

     MacDonald, 966 F.2d 854, 859 n. 9 (4th Cir.1992)). Thus, Nesbitt’s claim fails as a

     matter of law.

                               c.       Failure to Order Transcripts form Opening Statements
                                        and Closing Arguments

             Nesbitt next contends that his appellate counsel was ineffective in failing to order

     transcripts of the opening statements and closing arguments made at his trial, and thus,

     failed to review the entire record before filing an Anders brief on his behalf.13 Pet’r’s

     Mot. Amend 2–3. Assuming this conduct was objectively unreasonable under Strickland,

     Nesbitt nevertheless fails to allege that he was prejudiced by his counsel’s failure to



     13
              Nesbitt also contends that his counsel’s failure to order the transcript somehow prevented the
     Court of Appeals from reviewing the entire record. This allegation is clearly false as to the closing
     arguments. On October 5, 2011, the Court of Appeals issued an order directing preparation of the
     transcript of the closing arguments held by this court on August 25, 2010 so that it could be reviewed in
     connection with Nesbitt’s appeal. ECF No. 235.
              The court does note that the opening statements and opening charge appear to be missing from the
     transcript, but does not find that this omission alters its analysis.

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     review the opening and closing arguments. Neither Nesbitt’s motion to amend14 nor his

     response to the government’s motion to dismiss contain any indication of what issues

     might have been unearthed by a review of the opening and closing arguments, and

     Nesbitt has certainly failed to allege that there is a “reasonable probability” that appealing

     such issues would have produced a different result.15

              Nesbitt’s ineffective assistance argument might be read to reference a separate

     “government misconduct” claim in his motion to amend, wherein he contends that the

     government deprived him of a fair and impartial verdict by utilizing “charts and

     diagrams” during closing arguments which were not in evidence. Id. at 1–2. On this

     reading, Nesbitt basically argues that if his appellate counsel had reviewed the entire

     record, Nesbitt would have been able to appeal the use of these extra-evidentiary

     materials and overturn his conviction. However, this theory also fails, as it is not

     “reasonably probable” that the Court of Appeals would have found error in the

     government’s use of such materials.

              “The use of summary charts, diagrams, and other visual aids is generally

     permissible in the sound discretion of the trial court, especially when used to organize

     complex testimony or transactions for the jury.” United States v. Pineda, 91 F.3d 136

     (4th Cir. 1996) (quoting United States v. Crockett, 49 F.3d 1357, 1360–61 (8th

     Cir.1995)). Here, the record reflects that the government used charts during its closing

     14
               This particular argument comes from Nesbitt’s motion to amend his motion to vacate under
     § 2255, not the original motion to vacate. ECF No. 299.
     15
               It might be argued that Nesbitt’s ineffective assistance claim alleges an outright failure to provide
     representation—i.e. abandonment, rather than a simple “ineffective assistance.” In abandonment cases, a
     petitioner need not make any showing of prejudice, because “the presumption that counsel’s assistance is
     essential requires [the court] to conclude that a trial is unfair if the accused is denied counsel at a critical
     stage.” Roe v. Flores-Ortega, 528 U.S. 470, 483 (2000). However, the court has been unable to find any
     prior case law holding that a failure to examine portions of the trial record constitutes outright
     abandonment. As such, the court is unable to relieve Nesbitt of the prejudice requirement in connection
     with this claim.

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     arguments to outline the legal significance of various pieces of evidence presented during

     the trial. ECF No. 234, Trial Tr. 8:17–24 (“And we are going to refer to this

     chart . . . here is Mr. Nesbitt, clearly written in red[.] Here is our prescription holders.

     There is a link immediately by his own words, and by the words of the testimony of

     Cindy Powell, who said he would leave with 2, $3,000 and come back with handfuls,

     bags of pills, hundreds of pills, in her estimation.”); Trial Tr. 11:12–14 (“So this

     arrow . . . goes both ways. Oxycodone coming this way. What's going back? Money.

     And that's really what this conspiracy, other than the Oxycodone, is all about, it's the

     money. It's the 2 to $3,000 three or four times a month, according to Ms. Powell, that

     Mr. Nesbitt was walking out with and then coming back with pills.”); Trial Tr. 18:16–19

     (“And I'm going to write the Cadillac up on this list, as well. I'll be talking about that, as

     well, because that comes into play and shows yet more support for what happened on

     July 26, 2007.”). The court went on to instruct the jury that:

             ARGUMENTS AND STATEMENTS BY LAWYERS ARE NOT
             EVIDENCE. THE LAWYERS ARE NOT WITNESSES. WHAT THEY
             HAVE SAID IN THEIR OPENING STATEMENTS, CLOSING
             ARGUMENTS, AND AT OTHER TIMES IS INTENDED TO HELP
             YOU INTERPRET THE EVIDENCE, BUT IT IS NOT EVIDENCE. IF
             THE FACTS AS YOU REMEMBER THEM DIFFER FROM THE WAY
             THE LAWYERS HAVE STATED THEM, YOUR MEMORY OF THEM
             CONTROLS.

     ECF No. 181, Jury Instructions at 2. The government even made this point itself during

     its closing arguments. Trial Tr. 4:9–13 (“What I’m going to do, as the Judge noted, is

     I’m going to try to summarize and highlight what the evidence shows in this case. And

     certainly, as the Judge will tell you what I say regarding the testimony or evidence, if it’s

     different than what you remember, your memory controls.”). Given the limited nature of

     these charts and diagrams and the accompanying jury instructions, the court finds that it


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     was not error to allow their use during closing arguments. For the same reasons, the

     court also finds that any attempt to raise this issue on appeal would have likely been

     fruitless, and therefore, Nesbitt again fails to demonstrate that his counsel’s deficiencies

     had an impact on the ultimate outcome. Thus, Nesbitt’s ineffective assistance claim, and

     the underlying government misconduct claim, must fail.16

                               d.       Failure to Explain Procedures for Filing Writ of
                                        Certiorari

             Nesbitt’s last argument is that his counsel was ineffective for refusing to discuss

     filing a petition for a writ of certiorari and moving to withdraw as counsel prior to the

     deadline for filing such a petition. Pet’r’s Mot. Amend 3–4. This argument was

     presented in Nesbitt’s January 5, 2015 motion to amend, which the government has not

     addressed. The government’s motion to dismiss did include an affidavit from Nesbitt’s

     relevant appellate counsel, but that affidavit only addressed allegations in Nesbitt’s initial

     motion to vacate under § 2255, not his motion to amend. As such, Nesbitt’s allegations

     remain effectively uncontested.

             “If his client wishes to petition for certiorari of a judgment affirming a criminal

     conviction, a court-appointed lawyer must represent him in filing the petition.” United

     States v. Masters, 976 F.2d 728 (4th Cir. 1992); see also United States v. Tejeda-

     Ramirez, 380 F. App’x 252, 254 (4th Cir. 2010) (recognizing that appointed counsel has

     duty to notify the defendant of the result of his appeal and of the right to seek

     discretionary review from the Supreme Court). “Based on Fourth Circuit precedent, the

     failure of an attorney to inform his client of the right to file a petition for writ of certiorari

     and to file a petition if requested by his client constitutes ineffective assistance of counsel

     16
             The court finds this discussion sufficient to dispose of Nesbitt’s claim of government misconduct
     under Ground Two C, and does not address it in a separate section.

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     under both prongs of Strickland.” Yolanda Patrice Moton, v. U.S., 2016 WL 1732736, at

     *3 (E.D. Va. Apr. 28, 2016).

             Nesbitt’s motion to amend does not explicitly state that his appellate counsel

     failed to inform him of his right to file a petition for a writ of certiorari, nor does he

     explicitly state that he ever requested such a petition be filed. Nesbitt does state that his

     appellate counsel “refused to discuss this issue” with him. While this allegation is

     somewhat ambiguous, the court finds that, when read in the light most favorable to

     Nesbitt, it sufficiently alleges that his appellate counsel either failed to inform him of his

     right to file a petition, or possibly denied his request to file a petition. In either case, this

     allegation, if proven, would sustain his ineffective assistance claim. Given that this

     allegation remains uncontested, the court certainly cannot dismiss the claim, or grant the

     government’s motion for summary judgment. However, because the allegation remains

     ambiguous, and until today, the claim was not formally incorporated into Nesbitt’s

     motion to vacate, the court finds it inappropriate to decide the issue at this time. Instead,

     the court finds it better to allow the government an opportunity to respond and, if

     necessary, hold an evidentiary hearing on the issue to determine the nature of appellate

     counsel’s “refusal” to discuss the issue.

             D.      Ancillary Motions

             Having assessed the merits of Nesbitt’s allegations, the court is now in a position

     to dispose of the two remaining ancillary motions. First, Nesbitt moves to expand the

     record pursuant to Rule 7 of the Rules Governing Section 2255 Proceedings by requiring

     his former counsel to answer interrogatories and furnish copies of their work product.

     ECF No. 295. Rule 7 provides that “[i]f the petition is not dismissed, the judge may



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     direct the parties to expand the record by submitting additional materials relating to the

     petition.” The language of the rule leaves the decision to expand the record in the court’s

     hands. The court has already granted numerous motions to allow affidavits from

     Nesbitt’s former counsel to address his ineffective assistance claims. ECF Nos. 300, 303,

     304. Because the court finds the current record sufficient to dispose of the bulk of

     Nesbitt’s § 2255 claims, the court finds no reason to expand the record on those issues.

     Notably, Nesbitt’s motion to expand the record does not directly request information

     related to the remaining ineffective assistance claim, though it does request material from

     the appellate counsel in question.17 Therefore, the court denies Nesbitt’s motion to

     expand the record.18

               Nesbitt’s last motion requests that the court appoint counsel and schedule an

     evidentiary hearing on Nesbitt’s motion to vacate under § 2255. Section 2255 provides

     that:

               Unless the motion and the files and records of the case conclusively show
               that the prisoner is entitled to no relief, the court shall . . . grant a prompt
               hearing thereon, determine the issues and make findings of fact and
               conclusions of law with respect thereto.

     28 U.S.C. § 2255; see also United States v. O’Quinn, 166 F. App’x 697, 698 (4th Cir.

     2006) (“Unless it is clear from the record, as expanded, that the prisoner is not entitled to

     relief, § 2255 makes an evidentiary hearing mandatory.”).




     17
               The motion to amend, which sought to add that claim, was filed after the motion to expand the
     record.
     18
              Nesbitt’s motion might alternatively be read as a motion to compel discovery under Rule 6(a) of
     the Rules Governing § 2255 Proceedings, which provides: “A judge may, for good cause, authorize a party
     to conduct discovery.” Rules Governing § 2255 Proceedings. Under this reading, the court would still
     deny Nesbitt’s motion for lack of good cause. For the reasons described above, Nesbitt has failed to
     present viable claims on most of the issues raised by his motion. His lone surviving claim is best addressed
     through an evidentiary hearing.

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              As described above, the court finds the current record sufficient to dispose of all

     but one of Nesbitt’s claims.19 Nevertheless, because the court also finds that Nesbitt has

     stated a viable ineffective assistance claim regarding his appellate counsel’s failure to

     discuss or represent him in connection with a potential petition for a writ of certiorari,

     Nesbitt may be entitled to an evidentiary hearing on that issue. Therefore, the court

     grants Nesbitt’s motion to appoint counsel with respect to that claim—i.e., Ground Three

     J.




     19
               The court also notes that the failure to provide Nesbitt with a Roseboro order appears harmless in
     this case, as most of his claims were without merit even when his allegations were taken as true, and in any
     event, Nesbitt filed a response to the government’s motion for summary judgment in which he displayed an
     awareness of the summary judgment standard. See Caudell v. Waters, 915 F.2d 1564 (4th Cir. 1990)
     (finding no error in failure to provide Roseboro order where summary judgment appropriate even if
     petitioner’s allegations were true); Magano v. Vassar, 848 F.2d 185 (4th Cir. 1988) (finding failure to
     provide Roseboro order harmless where “Magano filed a lengthy opposition to defendants’ motion and,
     taking the statements contained in the opposition as true, we still find that the defendants were entitled to
     judgment.”).

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                                        IV. CONCLUSION

            Based on the foregoing, the court DENIES Nesbitt’s motion for recusal, and

     GRANTS Nesbitt’s motion to amend his § 2255 petition.

            The court then GRANTS the government’s motion to dismiss, or in alternative

     for summary judgment, and DENIES Nesbitt’s § 2255 petition, as amended, with respect

     to all claims, except Nesbitt’s claim that his appellate counsel was ineffective in failing to

     advise and represent him with respect to a potential petition for writ of certiorari. The

     court also GRANTS Nesbitt’s motion to appoint counsel. The court appoints the Federal

     Public Defender’s Office to represent Nesbitt in this matter. The court DENIES

     Nesbitt’s motion to expand the record.

            The court also DENIES Nesbitt’s motion requesting issuance of a corrected

     Judgment and Commitment, and DENIES Nesbitt’s motion for an immediate ruling on

     that issue as moot.

            AND IT IS SO ORDERED.




                                          DAVID C. NORTON
                                          UNITED STATES DISTRICT JUDGE

     May 31, 2016
     Charleston, South Carolina




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